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   12                        UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (SKx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                 JOINT STIPULATION REGARDING
   17                                            COMMERCIAL CLASS
                                                 REPRESENTATIVES
   18
        THIS DOCUMENT RELATES TO                 JUDGE: Hon. Philip S. Gutierrez
   19   ALL ACTIONS
                                                 COURTROOM: First Street Courthouse
   20                                                       350 West 1st Street
                                                            Courtroom 6A
   21                                                       Los Angeles, CA 90012
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    1         Plaintiffs and the NFL Defendants, by and through their respective counsel,
    2   hereby stipulate and agree, subject to the Court’s approval, to the following:
    3         The parties stipulate and agree that the NFL Defendants will not reference, in
    4   closing argument, the fact that Eugene Lennon and Jason Baker did not testify at
    5   trial or contend that the fact that Eugene Lennon and Jason Baker did not testify at
    6   trial means that Plaintiffs failed to adduce evidence or meet their burden of proof
    7   with respect to the commercial class. The NFL Defendants reserve the right to
    8   contend that Plaintiffs otherwise failed to adduce evidence or meet their burden of
    9   proof in support of Plaintiffs’ claims on behalf of the commercial class.
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           Dated: June 23, 2024                Respectfully submitted,
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   12                                          By:      /s/ Marc M. Seltzer
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   22                                                  League, NFL Enterprises LLC, and the
   23                                                  Individual NFL Clubs

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        All signatories listed, and on whose behalf the filing is submitted, concur in the
   25
        filing’s content and have authorized the filing.
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